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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

DEMARCUS HILL                                                                     PLAINTIFF

V.                              NO. 4:21-cv-00786-LPR-ERE

TISH JHONSON, et al.                                                          DEFENDANTS

                                        JUDGMENT

       Consistent with the Order that was entered on this date, it is CONSIDERED, ORDERED,

and ADJUDGED that Mr. Hill’s claims are DISMISSED. This case is closed. Pursuant to 28

U.S.C. § 1915(a)(3), the Court certifies that an in forma pauperis appeal of the Judgment or the

Order accompanying the Judgment would not be taken in good faith.

       IT IS SO ADJUDGED this 7th day of December 2021.



                                                   ________________________________
                                                   LEE P. RUDOFSKY
                                                   UNITED STATES DISTRICT JUDGE
